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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

  KOHCHISE JACKSON,

                        Plaintiff,                                      Case No.: 19-13382

  v.                                                     U.S. DISTRICT COURT JUDGE
                                                                 GERSHWIN A. DRAIN
  CHS TX, INC., et al.,

                        Defendants



                                     INDEX OF EXHIBITS

   TAB                                       DESCRIPTION

       A    Defendants Corizon Health, Inc. and Keith Papendick, M.D.’s First Set of
            Interrogatories and Request for Production of Documents to Plaintiff

       B    Plaintiff’s Response to Defendants’ Corizon Health., Inc and Keith Papendick, M.D.’s
            First Set of Interrogatories and Requests for Production of Documents to Plaintiff

       C    Email from Rachel Weil, Esq. to counsel for Plaintiff dated June 24, 2025

       D    Email from Ian Cross to Rachel Weil dated June 25, 2025




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